103 F.3d 141w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Mario Roberto FUENTES-BARAHONA, Defendant-Appellant.
    No. 95-50307.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 4, 1996.*Submission Deferred March 7, 1996.Resubmitted Nov. 4, 1996.Decided Nov. 22, 1996.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    